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             EXHIBIT HH
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                                                                Kelly Strange Crawford
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                                                                        Reply to: Morristown



      May 15, 2013

      Via Electronic Mail

      Adam M. Slater, Esq.                           Jillian A. S. Roman, Esq.
      Mazie, Slater, Katz & Freeman, LLC             Cohen, Placitella & Roth, PC
      103 Eisenhower Parkway                         Two Commerce Square, Suite 2900
      Roseland, New Jersey 07068                     2001 Market Street
                                                     Philadelphia, PA 19103
      Jeffrey Grand
      Bernstein Liebhard LLP
      10 East 40th Street
      New York, NY 10016

      Re:             In Re Pelvic Mesh/Gynecare Litigation - CT 291

      Counsel:

                    Please accept this letter in response to Plaintiffs’ request, through
      Jeff Grand, that Ethicon produce:

                 “all product registries, their underlying data, and related documents
                 (e.g., correspondence with investigators, emails concerning registries,
                 contracts, etc.), including but not limited to:

                 1.   TVT World
                 2.   Prosima
                 3.   TVT-Secur
                 4.   TVT-O
                 5.   Prolift +M”

                      Below is our understanding of the scope of the issue.

                    There are three ways in which it is possible that what you refer to
      as a “registry” may have been created: (1) as the result of a company-
      sponsorship; (2) as a result of an Investigator Initiated Study; or (3) independent
      of any involvement of Ethicon.
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                    As we understand it, and interpreting your use of the term
      “registry” broadly in some instances to include reference items that we do not
      believe are registries, we are aware of the following:

      I.      COMPANY SPONSORED

              A.    “TVT World”
                    This is a registry that encompasses TVT, TVT-0 and TVT Secur,
      which was published as Tincello, Douglas, et als, “The TVT Worldwide
      Observational Registry for Long-Term Data: Safety and Efficacy of Suburethral
      Sling Insertion Approaches for Stress Urinary Incontinence in Women,” The
      Journal of Urology, Vol. 186, 2310-2315 (December 2011). The study bears the
      Ethicon number 300-06-006. It is our belief that we have produced the company
      information related to this registry with the various sources of Ethicon’s clinical
      study productions. Specifically, this information is included with the productions
      of Ethicon’s:

                       •    US Trial Master hardcopy files
                       •    UK hardcopy files
                       •    UK TMF GroupShare
                       •    EU Clinical Research Data Entry GroupShare

      The productions in which these files can be located include: 12, 33, 36, 39, 43, 50,
      54, 62, 70, 93, 95.

                   Additionally, a search of the documents produced reveals more
      than 26,000 documents that reference this study collected from other sources.

              B.    A registry involving Prolift +M.
                    We are aware of study entitled: GYNECARE PROLIFT+M™ Pelvic
      Floor Repair System WORLDWIDE OBSERVATIONAL REGISTRY, which bears
      the Ethicon number 300-08-004. We understand that information regarding this
      study was presented at the International Continence Society in 2011 and
      American Urogynecology Society in 2011. It is our belief that we have produced
      company information related to this study with the various sources of Ethicon’s
      clinical study productions. Specifically, this information is included with the
      productions of Ethicon’s:


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      •             US Trial Master hardcopy files
      •             UK hardcopy files
      •             UK TMF GroupShare
      •             EU Clinical Research Data Entry GroupShare

      The productions in which these files can be located include: 12, 33, 39, 43, 62, 93,
      95.

                  Additionally, a search of the documents produced reveals almost
      1,500 documents that reference this study collected from other sources.
              C.    A registry regarding Prosima.
                    We understand that data from a Prosima study was presented at the
      International Continence Society in 2011. This study bears the Ethicon number
      300-07-011.      It is our belief that we have produced the company information
      related to this study with Ethicon’s clinical study productions. Specifically, this
      information is included with the productions of Ethicon’s:

                       •    US Trial Master hardcopy files
                       •    UK hardcopy files
                       •    UK TMF GroupShare
                       •    EU Clinical Research Data Entry GroupShare
                       •    Clinical Study Data

      The productions in which these files can be located include: 12, 31, 33, 39, 43, 50,
      54, 62, 70, 93, 95.

                  Additionally, a search of the documents produced reveals
      approximately 4,300 documents that reference this study collected from other
      sources.
      II.     INVESTIGATOR INITIATED (“IIS”)

              A.    TVT-S (involving Dr. Lucente).
                   Plaintiffs previously informally requested this information. Jeff was
      going to provide me with some further details on the request, including the
      contract produced that identified its existence. We have inquired about this and
      learned that neither Dr. Lucente nor Dr. Murphy, nor anyone in their office at
      this time, knows if this information still exists or where it might be.
      Unfortunately, the individual at their office who was in charge of managing
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      information such as this was killed in an automobile accident a few weeks ago.
      The office is very upset and struggling to deal with this issue.
              B.    Prolift (involving Dr. Lucente)

                    Files from Dr. Lucente’s Prolift IIS data were included in Production
                    100. This is not a registry.

              C.    TVT Exact.
                    Investigation has identified documents referencing an IIS bearing
                    Ethicon’s number 11-00-07-011) related to TVT Exact. We do not
                    understand this study to be a registry. Moreover, this study has
                    not started and there is no data available.
              D.    TVT, TVT-0 and TVT-S
                    Investigation has identified documents (produced) referencing an IIS
                    for these products in which a Dr. Lobadasch was involved. This is
                    an RCT and not a registry. Further, our investigation reveals that
                    the study was closed after only a few patients were enrolled and
                    there are no results reported of which Ethicon is aware.

      III.    INDEPENDENT

                   We are aware of a study by Collinet, Pierre, et als, “The Safety of
      the inside-out transobturator approach for transvaginal tape (TVT-O) treatment
      in stress urinary incontinence: French registry data on 984 women,” Int.
      Urogynecol J. (2008) 19:711-715. Investigation reveals that multiple copies of
      this study were produced in Ethicon’s production documents. Our investigation
      to date indicates that Ethicon does not have data regarding this study. Further,
      our understanding from the published study itself that “Acknowledgements:
      Johnson & Johnson, France provided support for the electronic database and
      investigator meetings.    All data analyses were independent of Johnson &
      Johnson.”

                                                      Very truly yours,

                                                      K elly S . C raw fo rd /e
                                                      Kelly S. Crawford



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